                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                               CHATTANOOGA DIVISION

UNITED STATES OF AMERICA                      )
                                              )
                                              )
v.                                            )       Case No. 1:06-CR-68-004
                                              )
VINCENT BOWLING                               )       EDGAR/CARTER


                             REPORT AND RECOMMENDATION

       Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on November 2,

2006. At the hearing, defendant entered a plea of guilty to a lesser included offense contained

within Count One of the Indictment, Conspiracy to Distribute 5 grams or more of cocaine base in

violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(B) and 846 in exchange

for the undertakings made by the government in the written plea agreement. On the basis of the

record made at the hearing, I find that the defendant is fully capable and competent to enter an

informed plea; that the plea is made knowingly and with full understanding of each of the rights

waived by defendant; that it is made voluntarily and free from any force, threats, or promises,

apart from the promises in the plea agreement; that the defendant understands the nature of the

charge and penalties provided by law; and that the plea has a sufficient basis in fact.

       I therefore recommend that defendant's plea of guilty to a lesser included offense

contained within Count One of the Indictment be accepted, that the Court adjudicate defendant

guilty of the charges set forth in Count One of the Indictment. I further recommend that

defendant be taken into custody pending sentencing in this matter. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are



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specifically reserved for the district judge.



Dated: November 2, 3006                         s/William B. Mitchell Carter
                                                UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

       You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than ten days after the plea
hearing. Failure to file objections within ten days constitutes a waiver of any further right to
challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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